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AO 91 (Rev. [1/11) Criminal Complaint

 

 

 

 

- United States Courts
UNITED STATES DISTRICT COURT Souther District of Texas
for the 0
Southern District of Texas CT 02 2019
David J. Bradley, Cl
United States of America } radiey, Clerk of Cour
v. )
Louie VILLARREAL CaseNo. (° - | 4 - 3 Sd bm”
)
)
)
Defendant(s)
f
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of September 30, 2019 in the county of Brooks in the
Southern District of Texas , the defendant(s) violated:
Code Section Offense Description
Title 21, USC 8414 (a) (1) Knowingly, intentionally, and unlawfully conspire to possess with intent to

distribute a controlled substance in Schedule I! of the Contrailed Substance
Act of 1970, to wit 6 kilograms (AGW) of cocaine.

This criminal complaint is based on these facts:

See Attachment "A”

@ Continued on the attached sheet. (id 7 1S c

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Antonio D nee Agent
rinted name ond title

Sworn to before me and signed in my presence. /, Lo xe,
Date: Onbchor 2 ANF
Judge’s signature

City and state: Corpus Christi, Texas OL. mae U.S. ” um Judge

Printed name and litle

Jason B. Libby
United States Magistrate Judge
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Attachment A

On September 30, 2019, United States Border Patrol Agent (BPA) Alain Munoz was assigned
immigration inspection duties at the Falfurrias Border Patrol Checkpoint located 13 miles south
of Falfurrias, TX. Working alongside BPA Munoz was BPA Nathan Smith and his Service
Canine. At approximately 6:30 p.m. a Black Chevrolet Camaro the primary lane for an
immigration inspection. As the vehicle approached BPA Munoz’ location, BPA Munoz noticed
one male occupant, later identified as Louie VILLARREAL. BPA Munoz asked
VILLARREAL where he was coming from and he responded, he was coming from Weslaco,
Texas. BPA Munoz questioned him as to where he was going and he stated that he was
traveling to San Antonio, Texas. BPA Munoz then asked the reason for VILLARREAL’s travel
to San Antonio and he said he was going to visit his son who was living with his mother.
VILLARREAL stated that he was divorced and has to travel to San Antonio to see his son who -
was 16 years of age. BPA Munoz then asked if VILLARREAL was a United States citizen to
which he replied "yes". While BPA Munoz was conducting his immigration inspection, BPA
Smith and his service canine conducted a non-intrusive free air sniff of the vehicle's exterior.
BPA Smith advised BPA Munoz that his service canine had alerted to the vehicle and asked
BPA Munoz to send the vehicle to the secondary inspection area. Due to the canine alert, BPA
Munoz told VILLARREAL to park in the secondary inspection area for further investigation.

' Once in the secondary inspection area, BPA Smith and his service canine conducteda |
systematic search of the vehicle. During the search of the vehicle, the front bumper was
removed which revealed two compartments in the frame of the vehicle. An inspection of the
frame revealed a bundle wrapped in black electric tape. At that time VILLARREAL was
escorted into the checkpoint until a further investigation could be conducted.

BPA Smith searched the frame and removed 13 bundles concealed within the vehicle. One of
the bundles was cut into revealing a white powdery substance. The white powdery substance
was field tested, and tested positive for cocaine. The 13 bundles were weighed and had a total
weight of 6 kilograms. VILLARREAL was advised inside the checkpoint that he was under
atrest for possession of cocaine. The amount of cocaine seized in this case implies the intent to
distribute.

Assistant United States Attorney Jeremey Fugate approved Federal prosecution of
VILLARREAL,
